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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   PLASTRONICS SOCKET PARTNERS,                  §
   LTD ET AL.,                                   §
                                                 §
         Plaintiffs,                             §        Case No. 2:18-CV-00014-JRG-RSP
                                                 §
   v.                                            §
                                                 §
   DONG WEON HWANG ET AL,                        §
                                                 §
         Defendants.                             §

                                              ORDER

         Before the Court is Plaintiffs’ Opposed Motion to Strike Defendant Hwang’s Preliminary

  Infringement Contentions. (Dkt. No. 91.) Defendant Hwang filed a counterclaim for patent

  infringement of U.S. Patent No. 7,025,062 (the “’602 Patent”), and the disputed infringement
   .
  contentions supplement that counterclaim.

         However, Plaintiff’s filed a Motion to Dismiss, moving to dismiss Defendant Hwang’s

  counterclaim for patent infringement of the ’602 Patent and other counterclaims. (Dkt. No. 92.)

  The Court recently granted that Motion to Dismiss in part, granting it with respect to the

  counterclaim for patent infringement of the ’602 Patent. (Dkt. No. 168; Dkt. No. 183.)

         The Court therefore finds Plaintiffs’ Opposed Motion to Strike Defendant

  Hwang’s Preliminary Infringement Contentions (Dkt. No. 91) to be MOOT. Plaintiffs’ Motion

  is therefore DENIED.
            SIGNED this 3rd day of January, 2012.
          SIGNED this 3rd day of March, 2019.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
